
		
				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2025 OK 14Decided: 03/03/2025THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2025 OK 14, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Suspension of Certificates of Certified Shorthand Reporters



ORDER

The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the annual renewal requirements for 2025.

Pursuant to 20 O.S., Chapter 20, App. 1, Rules 20(c) and 23(d), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective March 3, 2025.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 3rd day of MARCH, 2025.

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/S/CHIEF JUSTICE



Rowe, C.J., Kuehn, V.C.J., Winchester, Edmondson, Combs, Gurich, Darby and Kane, JJ., concur.



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CSR Exhibit A

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			Name
			
			
			Reason
			
			
			CSR #
			
		
		
			
			Dennis Brown
			
			
			CSR #139
			
			
			Renewal Fee
			
		
		
			
			Francine Dais
			
			
			CSR #2000
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Joni Humphries
			
			
			CSR #1236
			
			
			Renewal Fee
			
		
		
			
			Lorna Igert
			
			
			CSR #844
			
			
			Renewal Fee
			
		
		
			
			Sherry Jones
			
			
			CSR #1345
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Lisa Morgan
			
			
			CSR #1658
			
			
			Renewal Form and Continuing Education
			
		
		
			
			Leslie Ruiz
			
			
			CSR #1854
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Carrie Trout
			
			
			CSR #159
			
			
			Renewal Fee
			
		
	



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